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                              UNITED STATES DISTRICT COURT
13                          NORTHERN DISTRICT OF CALIFORNIA

14    ELIZABETH SINCLAIR, CHARLOTTE                 CASE NO. 4:20-CV-2798-HSG
      KLARKE, FELLOWSHIP OF
15    CHRISTIAN ATHLETES, an Oklahoma               STIPULATED ORDER GRANTING
      corporation, and FELLOWSHIP OF                KENNETH D. UPTON, JR.’S
16                                                  ADMINISTRATIVE MOTION TO
      CHRISTIAN ATHLETES OF PIONEER
      HIGH SCHOOL, an unincorporated                WITHDRAW AS COUNSEL FOR
17
      association,                                  DEFENDANTS NANCY ALBARRAN,
18           Plaintiffs,                            HERB ESPIRITU, PETER GLASSER,
      v.                                            STEPHEN MCMAHON AND
19                                                  DISMISSED DEFENDANT SAN JOSE
      SAN JOSE UNIFIED SCHOOL DISTRICT              UNIFIED SCHOOL DISTRICT BOARD
20                                                  OF EDUCATION
      BOARD OF EDUCATION, in its official
21    capacity, NANCY ALBARRÁN, in her
      official and personal capacity, HERBERT
22    ESPIRITU, in his official and personal
      capacity, PETER GLASSER, in his official      COURTROOM: Courtroom 2, 4th Floor
23    and personal capacity, and STEPHEN            JUDGE: Hon. Haywood S. Gilliam, Jr.
24    MCMAHON, in his official and personal
      capacity,                                     Third Amended Complaint Filed 7/15/2021
25            Defendants.

26
            Upon consideration of the Administrative Motion of Kenneth D. Upton, Jr. to Withdraw
27
     as Counsel of record for Defendants Nancy Albarran, Herb Espiritu, Peter Glasser, Stephen
28
     STIPULATED ORDER GRANTING KENNETH D. UPTON, JR.’S
     ADMINISTRATIVE MOTION TO WITHDRAW AS COUNSEL                CASE NO.: 4:20-CV-2798-HSG

     PAGE NO. 1 OF 2
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 1   McMahon, and dismissed Defendant San Jose Unified School District Board of Education, the

 2   motion is GRANTED and Mr. Upton’s appearance is withdrawn.
 3
            PURSUANT TO STIPULATION, IT IS SO ORDERED, this February 24, 2024.
 4

 5                                                __________________________________
                                                     Haywood S. Gilliam, Jr.
 6                                                   United States District Judge
 7
     Approved by Plaintiffs:
 8
     /s/ Daniel H. Blomberg
 9       Daniel H. Blomberg (by Kenneth D. Upton*)
10                                                *(signature submitted pursuant to Civil Local
11                                                Rule 5.1(h), attesting that Mr. Blomberg
                                                  concurred in the filing of this stipulated order)
12
     Approved by Defendants:
13
     /s/ Kenneth D. Upton, Jr.
14       Kenneth D. Upton, Jr.
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     STIPULATED ORDER GRANTING KENNETH D. UPTON, JR.’S
     ADMINISTRATIVE MOTION TO WITHDRAW AS COUNSEL                CASE NO.: 4:20-CV-2798-HSG

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